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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 United States of America,                              Court File No. 22-cr-48 (DMT)

                Plaintiff,
        v.                                       UNITED STATES MAGISTRATE
                                                    JUDGE DULCE J. FOSTER’S
 Steven Dornsbach and Kamida, Inc.,             MEMORANDUM IN SUPPORT OF
                                                MOTION TO QUASH SUBPOENA
                Defendants.


                                    INTRODUCTION

       On March 31, 2023, Defendants served a subpoena directed to “Magistrate Judge

Dulce J. Foster” upon Judge Dulce J. Foster for her trial testimony. The Affidavit of

Jennifer M. Robbins attached to the subpoena makes it clear that the subpoena does not

involve Judge Foster’s position as a United States Magistrate Judge. Rather, it involves

her former position as counsel of record for Clarence Olson, a Government witness in this

case. Judge Foster moves to quash the subpoena in her personal capacity only as Mr.

Olson’s former counsel, and not in her capacity as a United States Magistrate Judge,

pursuant to Federal Rule of Criminal Procedure 17(c)(2).

       Judge Foster takes no position on the issue of whether the Government has given

adequate discovery to the defense in this case. She does not and cannot represent a party

to this case.

       This subpoena is another effort to gain access to irrelevant, cumulative, and

privileged communications between Mr. Olson and his counsel, and it should be quashed.
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First, Defendants have failed to meet their burden to show that Judge Foster has relevant

and noncumulative testimony. Second, Judge Foster cannot both testify and comply with

her obligations under Minnesota Rule of Professional Conduct (“MRPC”) 1.6. Third,

Judge Foster’s testimony will necessarily encompass privileged communications and

attorney work product, which further inhibits her ability to testify. Fourth, precedent

discourages requiring federal judges from testifying when the circumstances do not require

it (like here). For these reasons, the Court should grant Judge Foster’s motion to quash the

subpoena.

                              FACTUAL BACKGROUND

I.     Mr. Olson’s Proceedings.

       The Government filed an Information against Mr. Olson on August 11, 2021.

United States v. Clarence Olson, No. 21-cr-00172-ECT, at Doc. No. 1 (D. Minn. 2021).

The Information charged Mr. Olson with one count of conspiracy to restrain trade. (Id. at

1-2.) Mr. Olson ultimately pled guilty to the Information on September 27, 2021. Olson,

No. 21-cr-00172, at Doc. No. 13. Before sentencing, Mr. Olson submitted a letter to Judge

Tostrud on October 12, 2021 (“First Letter”). (March 28, 2023 Order of Magistrate Judge

Clare R. Hochhalter [Doc. No. 210] (“March 28, 2023 Order”) at 1-2.) On June 10, 2022,

Mr. Olson submitted another letter to Judge Tostrud (“Second Letter”). (Id. at 4.)

II.    Mr. Olson’s Counsel.

       Before the Government filed the Information and thereafter, Mr. Olson was

represented by Judge Foster—prior to her taking the bench. (Olson, No. 21-cr-00172-ECT,

at Caption (showing counsel for Mr. Olson); see also Case No. 22-cr-48 at Doc. No. 96-


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2.). On May 31, 2022, Judge Foster withdrew as counsel for Mr. Olson. (Olson, Case No.

21-cr-00172, Doc. No. 28.) At the same time, Ms. Hoppe became Mr. Olson’s counsel of

record. (Id.) On August 30, 2022, Judge Foster was sworn in as a United States Magistrate

Judge for the District of Minnesota. (See News Release, United States District Court

District     of      Minnesota        (Aug.       30,      2022),      available       at

https://www.mnd.uscourts.gov/sites/mnd/files/2022-0830_MJ-FosterNewsRelease-Oath-

of-office%20.pdf.)

III.   Defendants’ Efforts to Obtain Communications Between Mr. Olson and His
       Counsel.

       Defendants previously sought to obtain communications between Mr. Olson and his

counsel.    For example, Defendants demanded that the Government produce

communications relating to Mr. Olson and his counsel on May 4, 2022. (Def.’s Mem.

Support Mot. Order Gov’t Comply [Doc. No. 77] at 13.) In response, the Government

produced the First Letter and summaries of its communications with Mr. Olson’s counsel. 1

(March 28, 2023 Order of Magistrate Judge Clare R. Hochhalter [Doc. No. 210] (“March

28, 2023 Order”) at 2.) Defendants additionally sought to obtain a broader array of

discovery through a Motion for Discovery and a third-party subpoena issued to Judge

Foster’s former law firm, Fredrikson & Byron, P.A. (“Fredrikson”).




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  Mr. Olson did not submit the Second Letter until June 10, 2022. (March 28, 2023 Order
at 4.) Once submitted, the Government produced to the Second Letter to Defendants. (Id.
at 5.)


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      A.     Defendants’ Motion for Discovery.

      Defendants filed a Motion for Discovery [Doc. No. 44] on May 18, 2022, seeking

production of all communications between the Government and Mr. Olson’s counsel.

(March 28, 2023 Order at 2.) Magistrate Judge Wright denied the motion. (July 27, 2022

Order of Magistrate Judge Elizabeth Wright [Doc. No. 81] (“July 27, 2022 Order”.) Judge

Wright held that neither Brady nor Giglio compelled production of impeachment evidence

regarding Mr. Olson’s counsel. (Id. at 3.) She did, however, encourage the Government

to review its disclosure letters to make sure it accurately and completely summarized its

communications with Mr. Olson’s legal counsel. (Id. at 3-4.) Defendants objected to the

July 27, 2022 Order. (Defs.’ Obj. July 27, 2022 Order [Doc. No. 86].)

      On November 9, 2022, Judge Traynor affirmed the July 27, 2022 Order. (March

28, 2023 Order at 5-6 (citing Nov. 9, 2022 Order of Judge Traynor [Doc. No. 156]).) He

affirmed that “the summaries produced by the United States of its communications with

Olson’s counsel provided Defendant with ample information for any direct or cross

examination of Olson and his counsel.” (Id. at 6.)

      B.     Defendants Subpoena Fredrikson for Documents.

      While the Motion for Discovery was pending, on August 26, 2022, Defendants

served Judge Foster’s former law firm, Fredrikson, with a subpoena, requesting the

production of “all documents related to the representation provided by your law firm . . .

to Clarence Olson, Maribeth Olson, and C. Olson Concrete” since January 2019. (Id. at 4

(citing Doc. Nos. 94, 95).) Fredrikson moved to quash the subpoena. (Id.)




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      On February 21, 2023, Magistrate Judge Hochhalter granted Fredrikson’s motion to

quash the subpoena. (Feb. 21, 2023 Order of Magistrate Judge Hochhalter [Doc. No. 196]

(“Feb. 21, 2023 Order”); see also United States v. Dornsbach, No. 22-cr-00048, 2023 WL

2480976 (D. Minn. Mar. 13, 2023).) The Court found that the subpoena lacked specificity,

explaining that “Defendants have cast a very large net” and “failed to establish with

sufficient specificity the evidentiary nature of the requested materials.” Id. at *5. The

Court therefore concluded that Defendants merely sought “confirmation of what they have

already received in discovery” or were hoping to “possibly discover additional

documents.” Id. The Court emphasized that discovery is improper under Rule 17(c). Id.

      Second, the Court found the subpoena oppressive. Id. The Court determined that

Defendants already possessed the documents that they sought to obtain from Fredrikson,

and thus held that Defendants could not “credibly maintain that they are unable to

adequately prepare for trial without the subpoenaed documents.” Id. Given that they

already possessed the Brady material and the substance of Mr. Olson’s counsel’s

communications with the United States, the Court found the “burden on Fredrikson to

produce these documents and assemble a privilege log” was “unnecessary and

unreasonable.” Id.

      The Court emphasized Fredrikson’s ethical obligations to Mr. Olson under MRPC

1.6. Id. at *6. The Court held that Defendants had not established an exception to Rule

1.6 and that Defendants had a weak purpose for issuing the subpoena (i.e., “the gathering

of possible impeachment evidence”). Id.




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       Taken together, the Court quashed the subpoena to Fredrikson. Id. Defendants

objected. (Defs.’ Mar. 7, 2023 Obj. [Doc. No. 198].) The objection is currently pending

before the District Court.

       C.     Defendants’ Subpoena to Judge Foster.

       On March 31, 2023, Defendants served Judge Foster with a subpoena to testify at

trial. (Notice Mot. & Mot. Ex. A.) Counsel for Defendants, Jennifer M. Robbins,

submitted an affidavit in support of the subpoena. (Id. at 4-6 (“Robbins Aff.”).) In the

affidavit, Ms. Robbins states that Judge Foster “was still representing Olson at the time he

wrote [the First Letter].” (Robbins Aff. ¶ 14.) She further asserts that Judge Foster

submitted information to the Government regarding Mr. Olson’s memory, recollection, and

education. (Robbins Aff. ¶ 15.) Ms. Robbins also asserts that Mr. Olson’s “memory, and

lack thereof, as observed by Magistrate Judge Foster during her representation of Olson, is

relevant to Defendants Dornsbach and Kamida’s defenses.” (Robins Aff. ¶ 16.) Lastly,

Ms. Robbins attests that Defendants seek Judge Foster’s testimony for the purposes of (1)

“impeaching either Olson or his counsel based on the information provided to the

government” (2) impeaching “the information in his plea agreement or otherwise related

to his plea of guilty” (3) “show[ing] that Olson had ulterior motives to plead guilty,” and

(4) showing “that he was not coerced to enter his guilty plea.” (Robbins Aff. ¶ 17.)

       Because these purposes seriously implicate MRPC 1.6, the attorney-client privilege,

and the attorney work-product doctrine, Judge Foster brings this motion to quash

Defendants’ Rule 17(a) subpoena.




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                                  LEGAL STANDARD

       Rule 17(a) of the Federal Rules of Criminal Procedure states that a subpoena “shall

command each person to whom it is directed to attend and give testimony at the time and

place specified therein.” Fed. R. Crim. P. 17(a). Although “Rule 17(a) does not expressly

provide for a motion to quash or limit the subpoena,” federal courts have routinely held

that “[r]oughly the same standard applies to subpoenas compelling the attendance of

witnesses and subpoenas under Rule 17(c).” United States v. Keogh, No. CR-17-290-D,

2022 WL 129443, at *1 (W.D. Okla. Jan. 12, 2022) (internal quotation marks and citation

omitted).

       Subpoenas issued under Rule 17(a) must seek testimony that is relevant and

material. Stern v. U.S. Dist. Ct. for Dist. of Mass., 214 F.3d 4, 17 (1st Cir. 2000). Courts

routinely quash Rule 17(a) subpoenas “[w]here the sought testimony is cumulative or

immaterial.” United States v. Bebris, 4 F.4th 551, 559–60 (7th Cir.), cert. denied, 142 S.

Ct. 489 (2021) (citing United States v. Beasley, 479 F.2d 1124, 1128 (5th Cir. 1973)).

Moreover, Rule 17 is not a discovery tool and may not be used to conduct a “fishing

expedition.” United States v. Nixon, 418 U.S. 683, 699–700 (1974). When making

preliminary admissibility determinations, the district court is “not bound by evidence rules,

except those on privilege.” Fed. R. Evid. 104(a). Notably, courts may deny a subpoena

for testimony “where the proposed testimony would be inadmissible at trial under Rule 403

because it has minimal probative value that would be substantially outweighed by the risk

of unfair prejudice or other considerations under Rule 403.” Keogh, 2022 WL 129443, at

*1 (citing United States v. LeBeau, 867 F.3d 960, 976 (8th Cir. 2017)).


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                                      ARGUMENT

       The Court should quash the subpoena for four reasons. First, Judge Foster’s alleged

testimony is irrelevant and cumulative. Second, the subpoena is unreasonable because

Judge Foster cannot both testify and comply with her obligations under MRPC 1.6. Third,

Judge Foster’s testimony will necessarily encompass privileged communications and

attorney work product. Fourth, courts discourage federal judges from testifying at trial.

The Court should quash the subpoena.

I.     The Court Should Quash the Subpoena Because Defendants Have Not Shown
       That Judge Foster’s Testimony is Relevant and Not Cumulative.

       Defendants must establish that Judge Foster has information that is relevant and not

cumulative. “[A] subpoena ad testificandum survives scrutiny if the party serving it can

show that the testimony sought is both relevant and material.” Stern, 214 F.3d at 17 (citing

United States v. Valenzuela-Bernal, 458 U.S. 858, 867 (1982)). Likewise, “a district court

has discretion to quash a Rule 17(a) subpoena ‘[w]here the testimony sought is cumulative

or immaterial.’ ” Keogh, 2022 WL 129443, at *1 (quoting United States v. Bebris, 4 F.4th

551, 559 (7th Cir. 2021), cert. denied, 142 S. Ct. 489 (2021)).

       Defendants seek Judge Foster’s testimony for purposes of (1) “impeaching either

Olson or his counsel based on the information provided to the government (summarized

above),” (2) impeaching “the information in his plea agreement or otherwise related to his

plead of guilty,” (3) “show[ing] that Olson had ulterior motives to plead guilty,” and (4)

showing “that he was not coerced to enter his guilty plea.” (Robbins Aff. ¶ 17.) However,

testimony related to these purposes is irrelevant and cumulative because Defendants



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already have access to the letters and have access to summaries of counsel’s statements to

the Government. As Magistrate Judge Hochhalter concluded in the February 21, 2023

Order, quashing the Fredrikson subpoena, this type of evidence is irrelevant, cumulative,

and constitutes a fishing expedition. Accordingly, the Court should grant Judge Foster’s

motion to quash the subpoena. See United States v. LeBeau, 867 F.3d 960, 976 (8th Cir.

2017).

         Defendants have not put forth any reasons for why Defendants need impeachment

evidence and especially have not shown what impeachment evidence would be necessary

from Mr. Olson’s counsel specifically. Nothing suggests that Mr. Olson will testify

contrary to the documents in the record and it is unclear what additional information

Defendants seek from Mr. Olson’s counsel that could not be obtained through cross-

examination of Mr. Olson.         Moreover, courts are generally reluctant to compel

impeachment evidence because it is “necessarily dependent on how a given witness

testifies.” United States v. Fitzsimons, 342 F.R.D. 18, 22 (D.D.C. 2022).        Because

Defendants have not explained why Mr. Olson needs to be impeached, it has failed to

establish the relevancy of Judge Foster’s testimony. The Government has not subpoenaed

Judge Foster as its witness; the defense will have no need to impeach her.

II.      The Subpoena Necessarily Violates Judge Foster’s Obligations Under MRPC
         1.6.

         The subpoena should also be quashed because Judge Foster cannot both testify and

comply with her obligations under Minnesota Rule of Professional Conduct 1.6. MRPC

1.6 provides in part that “a lawyer shall not knowingly reveal information relating to the



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representation of a client.” Minn. R. Prof. Conduct 1.6(a). The rule is broader than the

protections afforded by the attorney-client privilege.       See MRCP 1.6, Comment 3

(explaining the confidentiality rule “applies not only to matters communicated in

confidence by the client but also to all information relating to the representation, whatever

its source” and that “[a] lawyer may not disclose such information except as authorized or

required by the Rules of Professional Conduct or other law”).

       Defendants may argue that MRPC 1.6(b)(9) provides an exception were the Court

to order disclosure. However, no such order exists at this time. And the Court previously

denied Defendants’ discovery on this point. Moreover, the Court granted Fredrikson’s

prior motion to quash relying, in part, on MRPC 1.6. See Dornsbach, 2023 WL 2480976

at *6 (“MRPC 1.6 clearly prohibits [Fredrikson] from disclosing details of its

representation.”).

       Here, MRPC 1.6 prohibits Judge Foster from revealing information relating to her

representation of Mr. Olson in court or out of court.

III.   The Court Should Quash the Subpoena Because It Seeks Attorney-Client
       Privileged Communications and Attorney Work Product.

       Any information Defendants seek from Judge Foster will also be inextricably

intertwined with attorney-client privileged communications and attorney work product.

Federal common law governs questions of privilege in federal criminal proceedings. See

Fed. R. Evid. 501; U.S. v. Yielding, 657 F.3d 688, 706-707 (8th Cir. 2011) (citing US v.

Espino, 317 F.3d 788, 795 (8th Cir. 2003); see also In re Grand Jury Proceedings (85 Misc.

140), 791 F.2d 663 (8th Cir. 1986). In general, “it is well established under common law



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that confidential communications between an attorney and a client are privileged and not

subject to disclosure absent consent of the client.” United States v. Ivers, 967 F.3d 709,

715 (8th Cir. 2020) (citing United States v. Horvath, 731 F.2d 557, 562 (8th Cir.

1984)). The attorney-client privilege protects confidential communications between a

client and his attorney made for the purpose of serving the client and developing a litigation

strategy. See id. at 716. The privilege belongs to and exists solely for the benefit of the

client. Henderson v. United States, 815 F.2d 1189, 1192 (8th Cir. 1987). The party

asserting privilege bears the burden of showing that the privilege applies. Ivers, 967 F.3d

at 715 (citing United States v. Spencer, 700 F.3d 317, 320 (8th Cir. 2012)).

       Here, Judge Foster communicated with Mr. Olson in order to render legal services.

Accordingly, these communications are protected as attorney-client privileged

communications. To the extent Defendants seek to elicit testimony regarding Judge

Foster’s impression of Mr. Olson’s knowledge, memory, or education, that information is

privileged as attorney work product under the circumstances. Mental impressions that

impact litigation strategy are protected by the attorney work-product doctrine. See, e.g.,

United States v. Bonnell, 483 F. Supp. 1070, 1078 (D. Minn. 1979) (“Although it is hardly

replete with legal theories and strategies, it is a personal recollection or memorandum.”).

Such personal impressions are absolutely protected. Id. Accordingly, no basis exists to

require Judge Foster to testify under these circumstances.




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IV.    The Court Should Quash the Subpoena Because Defendants Have Not
       Identified Nonprivileged, Narrow Fact Testimony of which Judge Foster Alone
       Has Knowledge.

       Although nothing explicitly bars a federal judge from testifying, federal caselaw

discourages the use of testimony from federal judges and usually limits it to narrow fact

testimony where the judge is the sole source of the factual information. See, e.g., United

States v. Roth, 332 F. Supp. 2d 565, 568 (S.D.N.Y. 2004), aff’d sub nom. United States v.

St. John, 267 F. App’x 17 (2d Cir. 2008) (“[A] judge may only be required to testify if he

(1) possesses factual knowledge, (2) that knowledge is highly pertinent to the jury’s task,

and (3) is the only possible source of testimony on the relevant factual information.”); see

also Dalcour v. City Of Lakewood, No. 08-CV-00747-MSK-KLM, 2008 WL 3845289, at

*1 (D. Colo. Aug. 14, 2008) (“While there is no outright ban on judicial testimony, factual

testimony from a judge should only be elicited in narrow circumstances.”). Federal courts

have quashed subpoenas served on judges who do not have independent factual testimony.

Delcour, 2009 WL 3845289, at *1 (quashing subpoena to magistrate judge who

“indicate[d] that he has no independent factual recollection”). Likewise, Canon 2 of the

Code of Conduct for United States Judges provides that “[a] judge should not testify

voluntarily as a character witness,” and encourages judges to “discourage a party from

requiring the judge to testify as a character witness except in unusual circumstances when

the demands of justice require.”

       Here, Defendants have not identified narrow fact testimony of which Judge Foster

is the sole source of the factual information. To the contrary, the only reason the

Defendants know about the information is because documents produced by the


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Government in discovery already contain it. Accordingly, there is no reason to have Judge

Foster testify. Keogh, 2022 WL 129443, at *4 (“There is no reason to waste trial time

calling Ms. Anderson to testify about narrow facts that can be established with

documentary evidence, should Defendant elect to present a case-in-chief.”).

                                     CONCLUSION

       For the reasons set forth above, United States Magistrate Judge Dulce J. Foster

respectfully requests that the Court quash Defendants’ subpoena in its entirety.




Dated: April 21, 2023
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